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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:

                                                                   Chapter 11
              Bracha Cab Corp, et al.,
                                                                   Case No. 1-17-46613-nhl

                                             Debtors.              Jointly Administered
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               NOTICE OF DEADLINE REQUIRING FILING OF PROOFS OF
                         CLAIM ON OR BEFORE MAY 7, 2018

TO ALL PERSONS AND ENTITIES WITH CLAIMS AGAINST BRACHA CAB CORP,
et al.

         The United States Bankruptcy Court for the Eastern District of New York has entered an

Order establishing May 7, 2018 (the “Bar date”) as the last date for each person or entity

(including individuals, partnerships, corporation, joint ventures, and trusts) to file a proof of

claim against Bracha Cab Corp. et al. The deadline set for governmental units to file proofs of

claim is June 11, 2018. These deadlines are applicable to proofs of claim against the following

debtors:


        Bracha Cab Corp., Case No. 17-46613-nhl

        Dovber Cab Corp., Case No. 17-46614-nhl

        Tamar Cab Corp., Case No. 17-46616-nhl

        NY Genesis Taxi Corp, Case No. 17-46617-nhl

        Dabri Trans Corp., Case No. 17-46618-nhl

        Merab Cab Corp., Case No. 17-46619-nhl

        Fit Taxi Corp., Case No. 17-46620-nhl

        Jarub Trans Corp., Case No. 17-46639-nhl

        Somyash Taxi Corp., Case No. 17-46640-nhl
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       NY Tint Taxi Corp., Case No. 17-46641-nhl

       NY Stance Taxi Corp., Case No. 17-46642-nhl

       NY Canteen Taxi Corp., Case No. 17-46644-nhl

       NY Energy Taxi Corp., Case No. 17-46645-nhl

       Jackhel Cab Corp., Case No. 17-46646-nhl

       Lechaim Cab Corp., Case No. 17-46647-nhl.


        The Bar Date and the procedures set forth below for filing proofs of claim apply to all

claims against the Debtors that arose prior to either December 8, 2017 (for Case Nos. 17-46613-

nhl through 17-46620-nhl) or December 11, 2017 (for Case Nos. 17-46639-nhl through 17-

46647-nhl) (together, the “Filing Dates”), the dates on which the Debtors commenced cases

under chapter 11 of 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), except for those holders

of the claims listed in Section 4 below that are specifically excluded from the Bar Date filing

requirement.

1. WHO MUST FILE A PROOF OF CLAIM

        You MUST file a proof of claim to vote on a Chapter 11 plan filed by the Debtors or to

share in distributions from the Debtors’ bankruptcy estate if you have a claim that arose prior to

the Filing Dates, and it is not one of the types of claim described in Section 4 below. Claims

based on acts or omissions of the Debtors that occurred before the Filing Dates must be filed on

or prior to the Bar Date, even if such claims are not now fixed, liquidated or certain or did not

mature or become fixed, liquidated or certain before the Filing Dates.

        Under section 101(5) of the Bankruptcy Code and as used in this Notice, the word

“claim” means: (a) a right to payment, whether or not such right is reduced to judgment,

liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
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equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of performance

if such breach gives rise to a right to payment, whether or not such right to an equitable remedy

is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or

unsecured.

2. WHAT TO FILE

       Your filed proof of claim must conform substantially to Official Form No. 410, a copy of

which is annexed to this Notice. Additional proof of claim forms may be obtained at

www.uscourts.gov/forms/bankruptcy-forms.

       The proofs of claim form must be signed by the claimant or, if the claimant is not an

individual, by an authorized agent of the claimant. It must be written in English and be

denominated in United States currency. You must attach to our completed proof of claim any

documents on which the claim is based (if voluminous, attach a summary).

       Any holder of a claim against more than one Debtor must file a separate proof of claim

with respect to each Debtor, and all holders of claims must identify on their proof of claim the

specific Debtor against which their claim is asserted and the case number of that Debtor’s

bankruptcy case.

       Your proof of claim form shall not contain complete social security numbers or taxpayer

identifications numbers (only the minor’s initials) or a financial account number (only the last

four digits of such financial account).

2.     WHEN AND WHERE TO FILE

       Except as provided for herein, all proofs of claim must be filed so as to be received on or

before May 7, 2018.
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       Attorneys (with full access accounts) and employees of institutional creditors (with

limited access accounts) shall file proofs of claim electronically on the Court’s Case

Management/Electronic Case File (“CM/ECF”) system. Those without accounts to the

CM/ECF system shall file their proofs of claim by mailing or delivering the original proof of

claim to the Court at the address provided below:

       United States Bankruptcy Court
       Eastern District of New York
       Conrad B. Duberstein U.S. Bankruptcy Courthouse
       271-C Cadman Plaza East, Suite 1595
       Brooklyn, New York 11201-1800

       A proof of claim will be deemed timely filed only when received by the Bankruptcy

Court on or before the Bar Date. A proof of claim may not be delivered by facsimile, telecopy or

electronic mail transmission.

       Governmental units may file proofs of claim until June 11, 2018, the first date that is not

a Saturday, Sunday, or legal holiday after 180 days from the date of the order for relief.

3. WHO NEED NOT FILE A PROOF OF CLAIM

       You do not need to file a proof of claim on or before the Bar Date if you are:

       (a)     A person or entity that has already filed a proof of claim against one or more of

               the Debtors in these cases with the Clerk of the Bankruptcy Court for the Eastern

               District of New York in a form substantially similar to Official Bankruptcy Form

               No. 410;

       (b)     A person or entity whose claim is listed on the Schedules of Assets and Liabilities

               filed by the Debtors (collectively, the “Schedules”) Docket Entry No. 1 if (i) the

               claim is not scheduled as “disputed,” “contingent,” or “unliquidated” and (ii) you

               agree with the amount, nature and priority of the claim as set forth in the
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               Schedules, and (iii) you do not dispute that your claim is an obligation only of

               the specific Debtor against which the claim is listed in the Schedules;

       (c)     A holder of a claim that has already been allowed in these cases by order of the

               Court;

       (d)     A holder of a claim for which a different deadline for filing a proof of claim in

               these cases has already been fixed by this Court; or

       (e)     A holder of a claim allowable under sections 503(b) and 507(a)(2) of the

               Bankruptcy Code as an expense of administration of the Debtors’ estate.

       If you are a holder of an equity interest in any of the Debtors, you need not file a proof of

interest with respect to the ownership of such equity interest at this time. But, if you assert a

claim against any of the Debtors, including a claim relating to your equity interest or the

purchase or sale of that interest you must file a proof of claim on or prior to the Bar Date in

accordance with the procedures set forth in this Notice.

       This Notice is being sent to many persons and entities that have had some relationship

with or have done business with any of the Debtors but may not have an unpaid claim against

those Debtors. The fact that you have received this Notice does not mean that you have a claim,

or that the Debtors or the Court believes that you have a claim against the Debtors.

4. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       If you have a claim arising out of the rejection of an executory contract or unexpired

lease as to which the order authorizing such rejection is dated on or before the date of entry of

the Bar Order, you must file a proof of claim based on such rejection on or before the later of the

Bar Date or the date that is 30 days after the date of the order authorizing such rejection. Any

persons or entity that has a claim arising from the rejection of an executory contract or unexpired
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lease, as to which the order is dated after the date of entry of the Bar Order, you must file a proof

of claim with respect to such claim by the date fixed by the Court in the applicable order

authorizing rejection of such contract or lease.

5. CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE BARD
   DATE

       ANY HOLDER OF A CLAIM THAT IS NOT EXCEPTED FROM THE

REQUIREMENTS OF THIS ORDER, AS SET FORTH IN SECTION 4 ABOVE, AND THAT

FAILS TO TIMELY FILE A PROOF OF CLAIM IN THE APPROPIATE FORM, WILL BE

BARRED FROM ASSERTING ITS CLAIM AGAINST THE DEBTOR AND ITS CHAPTER

11 ESTATE, VOTING IN ANY PLAN OF REORGANIZATION FILED IN THIS CASE AND

PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTOR’S CHAPTER 11 CASE ON

ACCOUNT OF THAT CLAIM

6.     THE DEBTOR’S SCHEDULES AND ACCESS THERETO

       You may be listed as the holder of a claim against the Debtors in the Debtors’ Schedules.

If you agree with the nature, amount and status of your claim as listed in the Debtors’ Schedules,

and if you do not dispute that your claim is only against the Debtor specified by the Debtor,

and if your claim is not described as “disputed,” “contingent,” or “unliquidated,” you do not need

to file a proof of claim. Otherwise, you must file a proof of claim before the Bar Date in

accordance with the procedures set forth in this Notice.

       Copies of the Debtors’ Schedules are available for inspection of the Court’s Internet

Website at http://www/nyeb.uscourts.gov. A login and password to the Court’s Public Access to

Electronic Court Records (“PACER”) are required to access this information and can be

obtained through the PACER Service Center at http://www.pacer.psc.uscourts.gov. Copies of the

Debtors’ Schedules may also be examined between 9:00 a.m. and 4:30 p.m., Monday through
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Friday at the Office of the Clerk of the Bankruptcy Court, Conrad B. Duberstein U.S.

Bankruptcy Courthouse, 271-C Cadman Plaza East, Brooklyn, New York 11201-1800. Copies of

the Debtors’ Schedules may also be obtained by written request to the Debtor’s counsel at the

address and telephone number set forth below:

         Rosenberg, Musso & Weiner, LLP, 26 Court Street, Suite 2211, Brooklyn, New York

11242.

         If you are unsure about any of these matters, including whether you should file a

proof of claim, you may wish to consult an attorney.



Dated: Brooklyn, New York                                  BY ORDER OF THE COURT


___/s/____________________________
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DEBTORS IN POSSESSION
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